            Case 1:08-cv-04222-CM-HBP                  Document 13    Filed 06/16/08     Page 1 of 27



   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK


   ESPN, INC.,                                                    08 Civ. 4222 (CM) (MHD)
                                                                  ECF Case
                                          Plaintiff,
                   v.
                                                                  DEFENDANT QUIKSILVER, INC.’S
   QUIKSILVER, INC.,                                              ANSWER AND COUNTERCLAIMS
                                          Defendant.

                                                                  DEMAND FOR JURY TRIAL
   QUIKSILVER, INC.,

                                          Counterclaimant,
                   v.

   ESPN, INC.,

                                          Counterdefendant.



                         Pursuant to Rule 8(b) of the Federal Rules of Civil Procedure, defendant

   Quiksilver, Inc. (“Quiksilver” or “Defendant”) answers Plaintiff ESPN, Inc.’s (“ESPN” or

   “Plaintiff”) Complaint as follows:

                                                  INTRODUCTION

                         1.       In answer to the allegations of paragraph 1, Quiksilver admits that

   Plaintiff’s Complaint purports to assert claims of trademark infringement and unfair competition,

   but otherwise denies each and every allegation of that paragraph.

                                                        PARTIES
   Plaintiff ESPN, Inc.

                         2.       In answer to the allegations of paragraph 2, Quiksilver admits that ESPN

   is a Delaware corporation with its principal place of business in Bristol, Connecticut. Quiksilver

   lacks knowledge or information sufficient to form a belief regarding the truth of the remaining

   allegations of paragraph 2, and on that basis denies each and every such remaining allegation.

                         3.       In answer to the allegations of paragraph 3, Quiksilver lacks knowledge or


                        OC\957044.2
ATTORNEYS AT LAW
 ORANGE COUNTY
            Case 1:08-cv-04222-CM-HBP           Document 13       Filed 06/16/08      Page 2 of 27




   information sufficient to form a belief regarding the truth of the allegations of that paragraph,

   and on that basis denies each and every allegation of that paragraph.

                    4.       In answer to the allegations of paragraph 4, Quiksilver admits that the X

   Games features skateboarding, snowboarding, and surfing.             Quiksilver lacks knowledge or

   information sufficient to form a belief regarding the truth of the remaining allegations of

   paragraph 4, and on that basis denies each and every such remaining allegation.

                    5.       In answer to the allegations of paragraph 5, Quiksilver admits Kelly Slater

   has participated in the X Games. Quiksilver lacks knowledge or information sufficient to form a

   belief regarding the truth of the remaining allegations of paragraph 5, and on that basis denies

   each and every such remaining allegation.

   Defendant Quiksilver, Inc.
                    6.       Quiksilver admits the allegations of paragraph 6.

                    7.       In answer to the allegations of paragraph 7, Quiksilver admits it designs,

   produces, and distributes surfwear and other boardsport-related equipment, among other goods.

   Quiksilver denies the remaining allegations of paragraph 7.

                    8.       In answer to the allegations of paragraph 8, Quiksilver admits it sponsors

   numerous amateur and professional surfers, snowboarders, skiers, and skateboarders, including

   Kelly Slater and Tony Hawk. Quiksilver denies the remaining allegations of paragraph 8.

                                              JURISDICTION

                    9.       Paragraph 9 is a legal conclusion that does not require a response.

                    10.      Paragraph 10 is a legal conclusion that does not require a response.

                    11.      Paragraph 11 is a legal conclusion that does not require a response.

                                 THE ALLEGED ESPN X TRADEMARKS

                    12.      In answer to the allegations of paragraph 12, Quiksilver admits that

   Plaintiff has been issued federal trademark registrations under Registration Numbers 2,089,996

   for goods in Class 41; 2,126,126 for goods in Class 25; 2,211,559 for goods in Class 9; and

   3,117,522 for goods in Class 16. Quiksilver lacks knowledge or information sufficient to form a

                   OC\957044.2                          2
ATTORNEYS AT LAW
 ORANGE COUNTY
            Case 1:08-cv-04222-CM-HBP          Document 13        Filed 06/16/08      Page 3 of 27




   belief regarding the truth of the remaining allegations of paragraph 12, and on that basis denies

   each and every such remaining allegation.

                    13.      In answer to the allegations of paragraph 13, Quiksilver admits that

   Plaintiff has filed trademark applications for a stylized “X Games” mark and a stylized “X” mark

   for various goods.        Quiksilver lacks knowledge or information sufficient to form a belief

   regarding the truth of the remaining allegations of paragraph 13, and on that basis denies each

   and every such remaining allegation.

                    14.      Quiksilver denies the allegations of paragraph 14.

                    15.      Quiksilver denies the allegations of paragraph 15.

                    16.      In answer to the allegations of paragraph 16, Quiksilver lacks knowledge

   or information sufficient to form a belief regarding the truth of the allegations of that paragraph,

   and on that basis denies each and every allegation of that paragraph.

                                      ALLEGED INFRINGEMENT
                    17.      In answer to the allegations of paragraph 17, Quiksilver admits it sells its

   products in stores in New York as well as throughout the United States, on the Internet, and

   internationally. Quiksilver denies the remaining allegations of paragraph 17.

                    18.      Quiksilver denies the allegations of paragraph 18. Quiksilver further avers

   that it began using X-related trademarks and/or ornamentation no later than the mid-1980s,

   approximately 10 years prior to ESPN’s admitted first use of its purported X Games marks.

                    19.      Quiksilver denies the allegations of paragraph 19. Quiksilver further avers

   that there was only a single “protest” from ESPN prior to the filing of this lawsuit, in the form of

   a letter sent in September 2007, which letter was promptly responded to by Quiksilver.

   Quiksilver additionally avers that it has used X-related trademarks and/or ornamentation since no

   later than the mid-1980s, approximately 10 years prior to ESPN’s admitted first use of its

   purported X Games marks.

                    20.      Quiksilver denies the allegations of paragraph 20. Quiksilver further avers

   that it began using X-related trademarks and/or ornamentation no later than the mid-1980s,

                   OC\957044.2                          3
ATTORNEYS AT LAW
 ORANGE COUNTY
            Case 1:08-cv-04222-CM-HBP          Document 13        Filed 06/16/08     Page 4 of 27




   approximately 10 years prior to ESPN’s admitted first use of its purported X Games marks.

                    21.      In answer to the allegations of paragraph 21, Quiksilver admits that it did

   not receive authorization from ESPN to use X-related trademarks and/or ornamentation.

   Quiksilver denies the remaining allegations of paragraph 21, and further avers that no

   authorization was necessary because, among other reasons, Quiksilver is the senior user of such

   X-related trademarks.         Quiksilver additionally avers that ESPN began using its X-related

   trademarks without Quiksilver’s permission or authorization.

                    22.      Quiksilver denies the allegations of paragraph 22. Quiksilver further avers

   that, to the extent there has been any confusion, such confusion was caused by ESPN’s

   infringing use of Quiksilver’s X-related trademarks.

                    23.      Quiksilver denies the allegations of paragraph 23. Quiksilver further avers

   that, to the extent there has been any dilution of anyone’s trademarks, ESPN is responsible for

   diluting Quiksilver’s X-related trademarks, which are senior to ESPN’s X Games marks.

                            FIRST CAUSE OF ACTION
     (FEDERAL TRADEMARK INFRINGEMENT OF X GAME MARKS 2089996, 2126126,
                 2211559, AND 3117522 UNDER 15 U.S.C. § 1114(1)(a))

                    24.      In answer to the allegations of paragraph 24, Quiksilver restates the

   answers contained in paragraphs 1 through 23 respectively and incorporates those answers herein

   by reference.

                    25.      Quiksilver denies the allegations of paragraph 25.

                    26.      Quiksilver denies the allegations of paragraph 26.

                    27.      Quiksilver denies the allegations of paragraph 27.

                    28.      Quiksilver denies the allegations of paragraph 28.

                    29.      Quiksilver denies the allegations of paragraph 29. Quiksilver further avers

   that ESPN is not entitled to any remedy whatsoever by virtue of its Complaint.




                   OC\957044.2                          4
ATTORNEYS AT LAW
 ORANGE COUNTY
            Case 1:08-cv-04222-CM-HBP              Document 13        Filed 06/16/08    Page 5 of 27




                                  SECOND CAUSE OF ACTION
                   (TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION UNDER
                                      15 U.S.C. § 1125(a))
                        30.      In answer to the allegations of paragraph 30, Quiksilver restates the

   answers contained in paragraphs 1 through 29 respectively and incorporates those answers herein

   by reference.

                        31.      Quiksilver denies the allegations of paragraph 31.

                        32.      Quiksilver denies the allegations of paragraph 32 (incorrectly numbered as

   paragraph 25).

                        33.      Quiksilver denies the allegations of paragraph 33 (incorrectly numbered as
   paragraph 32).

                        34.      Quiksilver denies the allegations of paragraph 34 (incorrectly numbered as

   paragraph 33). Quiksilver further avers that ESPN is not entitled to any remedy whatsoever by

   virtue of its Complaint.

                                    THIRD CAUSE OF ACTION
                       (ANTI-DILUTION PURSUANT TO NEW YORK GBL § 360-1)

                        35.      In answer to the allegations of paragraph 35 (incorrectly numbered as

   paragraph 34), Quiksilver restates the answers contained in paragraphs 1 through 34 respectively

   and incorporates those answers herein by reference.

                        36.      Quiksilver denies the allegations of paragraph 36 (incorrectly numbered as

   paragraph 35).

                        37.      Quiksilver denies the allegations of paragraph 37 (incorrectly numbered as

   paragraph 36).

                        38.      Quiksilver denies the allegations of paragraph 38 (incorrectly numbered as

   paragraph 37). Quiksilver further avers that ESPN is not entitled to any remedy whatsoever by

   virtue of its Complaint.




                       OC\957044.2                          5
ATTORNEYS AT LAW
 ORANGE COUNTY
            Case 1:08-cv-04222-CM-HBP           Document 13        Filed 06/16/08     Page 6 of 27




                                  FOURTH CAUSE OF ACTION
                           (VIOLATION OF NEW YORK COMMON LAW)
                    39.      In answer to the allegations of paragraph 39 (incorrectly numbered as

   paragraph 38), Quiksilver restates the answers contained in paragraphs 1 through 38 respectively

   and incorporates those answers herein by reference.

                    40.      Quiksilver denies the allegations of paragraph 40 (incorrectly numbered as

   paragraph 39).

                    41.      Quiksilver denies the allegations of paragraph 41 (incorrectly numbered as

   paragraph 40). Quiksilver further avers that ESPN is not entitled to any remedy whatsoever by

   virtue of its Complaint.

                                  PLAINTIFF’S PRAYER FOR RELIEF
                    42.      The remaining paragraphs in the Complaint constitute Plaintiff’s prayer

   for relief to which no answer is required. To the extent that the prayer for relief purports to state

   any factual allegations, Quiksilver denies them.

                                        AFFIRMATIVE DEFENSES

                    As separate and distinct affirmative defenses to Plaintiff’s alleged claims for

   relief, Quiksilver alleges as follows:

                                         First Affirmative Defense

                                          (Failure to State a Claim)
                    1.       Plaintiff’s purported claims for relief fail to state facts sufficient to

   constitute claims upon which relief can be granted against Quiksilver.

                                        Second Affirmative Defense
                                            (Statute of Limitations)

                    2.       Plaintiff’s purported claims for relief are barred in whole or in part by the

   applicable statute of limitations.




                   OC\957044.2                          6
ATTORNEYS AT LAW
 ORANGE COUNTY
            Case 1:08-cv-04222-CM-HBP           Document 13       Filed 06/16/08      Page 7 of 27




                                         Third Affirmative Defense

                                                   (Laches)

                    3.       Plaintiff’s purported claims for relief are barred in whole or in part by the

   doctrine of laches.

                                        Fourth Affirmative Defense

                                               (Unclean Hands)

                    4.       Quiksilver is informed and believes, and on that basis alleges, that by

   reason of Plaintiff’s conduct, Plaintiff’s purported claims for relief are barred in whole or in part

   by the doctrine of unclean hands.

                                         Fifth Affirmative Defense
                                                   (Waiver)

                    5.       Quiksilver is informed and believes, and on that basis alleges, that by

   reason of Plaintiff’s conduct, Plaintiff’s purported claims for relief are barred in whole or in part

   by the doctrine of waiver.

                                         Sixth Affirmative Defense

                                               (Acquiescence)

                    6.       Quiksilver is informed and believes, and on that basis alleges, that

   Plaintiff’s purported claims for relief are barred in whole or in part by its acquiescence to

   Quiksilver’s actions and its acquiescence to other companies’ use of “X” as part of their

   trademarks.

                                        Seventh Affirmative Defense

                                                  (Estoppel)

                    7.       Plaintiff’s purported claims for relief are barred in whole or in part by the

   doctrine of estoppel.

                                        Eighth Affirmative Defense

                                            (Non-Willful Conduct)

                    8.       Any and all acts alleged to have been committed by Quiksilver, if

                   OC\957044.2                          7
ATTORNEYS AT LAW
 ORANGE COUNTY
            Case 1:08-cv-04222-CM-HBP           Document 13        Filed 06/16/08     Page 8 of 27




   performed, were performed with lack of knowledge and lack of willful intent.

                                          Ninth Affirmative Defense

                                              (Fair Competition)

                    9.       Quiksilver’s alleged actions, to the extent true, constitute fair competition

   in business.

                                          Tenth Affirmative Defense

                                          (Justification and Privilege)

                    10.      Plaintiff’s purported claims, and each of them, are barred in whole or in

   part because Quiksilver’s actions respecting the subject matters alleged in the Complaint, and

   each of them, to the extent that they were taken at all, were undertaken in good faith, and

   constitute lawful, proper, and justified means to further its purpose of engaging in and continuing

   its business.

                                        Eleventh Affirmative Defense
                                 (Remote, Speculative And Contingent Damages)

                    11.      To the extent that Plaintiff claims damages that will be incurred in the

   future, such damages may not be recovered as they are remote, speculative, and contingent.

                                         Twelfth Affirmative Defense

                                              (Double Recovery)

                    12.      Plaintiff’s purported claims for relief are barred to the extent Plaintiff is

   seeking double recovery for the same alleged wrong.

                                       Thirteenth Affirmative Defense

                                      (Punitive Damages Unconstitutional)

                    13.      To the extent Plaintiff seeks punitive damages, this violates Quiksilver’s

   rights under the United States Constitution.

                                       Fourteenth Affirmative Defense

                                               (Priority of Use)

                    14.      Plaintiff’s purported claims for relief fail in whole or in part because

                   OC\957044.2                           8
ATTORNEYS AT LAW
 ORANGE COUNTY
            Case 1:08-cv-04222-CM-HBP           Document 13        Filed 06/16/08      Page 9 of 27




   Quiksilver is the senior user of the alleged marks.

                                       Fifteenth Affirmative Defense

                                            (Non-Trademark Use)

                    15.      Plaintiff’s purported claims for relief fail in whole or in part because some

   or all of the alleged infringement by Quiksilver constitutes non-trademark use.

                                       Sixteenth Affirmative Defense

                                    (Fraudulently Obtained Registrations)

                    16.      Quiksilver is informed and believes, and on that basis alleges, that

   Plaintiff’s purported claims for relief fail in whole or in part because Plaintiff’s alleged

   trademark registrations were obtained fraudulently, by failing to inform the United States Patent

   and Trademark Office (“USPTO”) of Quiksilver’s prior rights, as well as declaring under penalty

   of perjury to use of the registered marks on goods which the marks were not actually used upon

   in commerce.

                                      Seventeenth Affirmative Defense
                                                (Generic Term)

                    17.      Plaintiff’s purported claims for relief fail in whole or in part because

   Plaintiff’s alleged marks are generic.

                                      Eighteenth Affirmative Defense

                          (Terms Are Non-Distinctive and Lack Secondary Meaning)

                    18.      Plaintiff’s purported claims for relief fail in whole or in part because

   Plaintiff’s alleged marks are non-distinctive and lack secondary meaning.

                                      Nineteenth Affirmative Defense

                                        (No Likelihood of Confusion)

                    19.      Plaintiff’s purported claims for relief fail in whole or in part because there

   is no likelihood of confusion between Plaintiff’s alleged marks and Defendant’s marks.




                   OC\957044.2                          9
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP            Document 13        Filed 06/16/08      Page 10 of 27




                                       Twentieth Affirmative Defense

                                               (Right to Amend)

                    20.      Quiksilver reserves the right to rely on all further affirmative defenses that

   become available or appear during discovery proceedings in this action, and Quiksilver further

   reserves the right to amend this Answer for the purpose of asserting any such additional

   affirmative defenses.

                    WHEREFORE, Quiksilver prays for the following relief:

                    1.       That ESPN take nothing by reason of its Complaint;

                    2.       That Quiksilver be awarded its costs and attorneys’ fees; and

                    3.       For such other and further relief as the Court may deem just and proper.




                   OC\957044.2                         10
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP             Document 13       Filed 06/16/08      Page 11 of 27




                                             COUNTERCLAIM

                       Quiksilver, Inc. (“Quiksilver” or “Counterclaimant”) hereby complains against

   ESPN, Inc. (“ESPN” or “Counterdefendant”) as follows:

                                        NATURE OF THE ACTION

                       1.     This is a civil action for trademark infringement and unfair competition

   under the Lanham Act, 15 U.S.C. § 1125(a), and New York state law.

                                       JURISDICTION AND VENUE

                       2.     This action is within the jurisdiction of this Court by virtue of the Lanham

   Act, 15 U.S.C. § 1121(a) and 28 U.S.C. §§ 1331 (federal question jurisdiction). The Court has

   supplemental jurisdiction over Counterclaimant’s state law claims pursuant to 28 U.S.C.

   §§ 1367(a).

                       3.     This Court has personal jurisdiction over Counterdefendant because

   Counterdefendant has sufficient minimum contacts in the State of New York to satisfy New

   York’s long-arm statute and Constitutional due process requirements.

                       4.     Venue in this Court exists under 28 U.S.C. § 1391(b)(1), as

   Counterdefendant is deemed to reside in this District because it is subject to personal jurisdiction

   in this District.

                                                THE PARTIES

                       5.     Counterclaimant Quiksilver is a Delaware corporation having its principal

   place of business in Huntington Beach, California.

                       6.     On information and belief, Counterdefendant ESPN is a Delaware

   corporation with its principal place of business in Bristol, Connecticut. On information and

   belief, ESPN also maintains its West Coast headquarters in the Los Angeles area, which will be

   moving into a new facility in 2009.

                                        GENERAL ALLEGATIONS

                                                  Quiksilver

                       7.     In 1976, Quiksilver began operations as a California company, making

                   OC\957044.2                          11
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP            Document 13        Filed 06/16/08     Page 12 of 27




   boardshorts and other clothing products for surfers in the United States under a license

   agreement with the Quiksilver brand founders in Australia. Quiksilver expanded its product

   offerings in the 1980s as it grew its distribution channels.

                    8.       In 1991, Quiksilver acquired the European licensee of the Quiksilver

   brand and introduced “Roxy,” a surf brand for junior girls. It further expanded in the 1990s by

   adding new products and designs, and introduced a proprietary retail store concept, Boardriders

   Clubs, which displays the heritage and products of “Quiksilver” and “Roxy.”

                    9.       In May 2004, Quiksilver acquired DC Shoes, Inc. to expand its presence

   in action sports-inspired footwear.

                    10.      Quiksilver’s global and North American headquarters are in Huntington

   Beach, California, while its European headquarters are in St. Jean de Luz, France, and its

   Asia/Pacific headquarters are in Torquay, Australia.

                    11.      Brand building has been a key to Quiksilver’s growth, and the company

   has always maintained its roots in the boardriding lifestyle. Today, Quiksilver’s products are

   sold in many countries throughout the world, primarily in surf shops, snow shops, skate shops,

   and select department stores.

                    12.      Quiksilver also hosts prestigious and highly influential cultural events and

   contests, including, but not limited to, the Quiksilver Pro Australia, the Quiksilver Pro France,

   the Quiksilver ISA World Junior Surfing Championships, the Quiksilver Big Wave Invitational,

   the Roxy Pro, and the Quiksilver Bowlriders skateboard contest.

                    13.      Quiksilver also sponsors premier athletes, including pro surfers like Kelly

   Slater, Dane Reynolds, Julian Wilson, and Clay Marzo; pro skateboarders, such as Tony Hawk,

   Danny Way and Reese Forbes; and pro snowboarders, such as Travis Rice, Todd Richards, and

   Torah Bright.

                                 Quiksilver’s Trademarks and Product Designs

                    14.      Quiksilver owns multiple international and domestic trademarks

   associated with its well-known product lines. One of its well-known marks is the ubiquitous

                   OC\957044.2                         12
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP          Document 13      Filed 06/16/08    Page 13 of 27




   mountain and wave logo (the “Quiksilver Logo”):




   The Quiksilver Logo is used as a stand-alone mark, and also is incorporated into several of

   Quiksilver’s other marks.

                    15.      Since no later than 1986, Quiksilver began incorporating an “X” symbol

   into its boardshorts and other clothing designs and marketing materials:




   Subsequently, and by no later than 1989, Quiksilver developed the Generation X brand, which

   was created to symbolize a new generation of surfers and boardriders, and utilized the “X” as the

   consistent centerpiece of the brand image. The X symbol, which has been incorporated into

   many different designs, constitutes a trademark of Quiksilver. The designs are collectively

   referred to as the “Gen X Brand.”

                    16.      The Gen X Brand has been used in connection with a variety of products

   and marketing materials. While, over the years, the Gen X Brand has included variations of

   different designs, all of the designs feature the letter “X.” For example, by no later than 1989,

   Quiksilver debuted a colored X on a dark background with the Quiksilver Logo below it:




   and an X on a colored background with the Quiksilver Logo above it and the word “Generation”

   on top of it:




   The Gen X Brand advertisements featured famous surfers Kelly Slater and Rainus Hayes, and


                   OC\957044.2                       13
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP           Document 13      Filed 06/16/08     Page 14 of 27




   the product categories using the Gen X Brand included t-shirts, boardshorts, hats, and stickers.

   Many of the Gen X Brand products also featured Xs as additional ornamentation.

                    17.      In 1990, Quiksilver published “X Factor,” a publication which featured

   contests, articles about surfing and Quiksilver, and surf movie reviews, including a review of

   Quiksilver’s “GEN X” movie:




                    18.      In 1992, Quiksilver produced and distributed the “Mondo X-Treme X-

   periment” video, featuring surfing, skateboarding and snowboarding highlights:




                    19.      By no later than 1992, the Gen X Brand was expanded to Quiksilver’s

   winter sports product category, and featured the “X 1” and “Surfers of Fortune” designs:




                    20.      By no later than 1993, Quiksilver’s snow line introduced the Gen X

   Brand’s “X-Ray/Mechanical X” design, which featured a drawing of a doctor viewing an x-ray

   of a man’s chest, with an “X” in the upper left corner of the design:




   The X-Ray design was featured on t-shirts, jackets, and flight suits, and was often included in the

   inner tag area of the garment.

                    21.      By no later than the summer of 1994, Quiksilver’s Gen X Brand debuted a


                   OC\957044.2                       14
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP           Document 13      Filed 06/16/08    Page 15 of 27




   new Mechanical X design that included a drawing of parents scolding a young boy whose head

   has been replaced by an “X”:




   This design was featured on t-shirts, jackets, and other articles of clothing. By no later than

   1994, Quiksilver introduced the Gen X Brand’s “Knockout X” design, which featured a colored

   X on a dark background with the name QUIKSILVER to its right, with “QUIK” in a dark color

   on a light background and “SILVER” in a light color on a dark background:




   the “Stretch X” design, featuring a stylized X above the word QUIK above the Quiksilver Logo;




   and the “Quiksilver X” design, which was made up of a large colored X with a contrast-colored

   Quiksilver Logo in the middle of the X:




   These designs were used on t-shirts, stickers, and other items.

                    22.      By no later than 1995, Quiksilver further expanded the Gen X Brand, and

   adopted additional designs, such as the “Hibiscuit” (the Quiksilver Logo with an X below it

   flanked on each side by a hibiscus flower):




                    23.      Throughout 1996 and 1997, various new designs were used within the Gen

   X Brand on many different products, including t-shirts, caps, and stickers, including: The simple

   “X Mark,” a dark-colored X on a lighter colored background, displayed in conjunction with the

                   OC\957044.2                       15
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP            Document 13       Filed 06/16/08      Page 16 of 27




   Quiksilver name and/or Quiksilver Logo:




   the “QUIX” design (with the Quiksilver Logo as the “Q”):




   the “America’s Future X” design (a large X with America’s Future written in script on top of it):




   and the “X File” design (a medium-colored X on a dark background with the word “Quik” on top

   of it in a light color):




                    24.       By no later than 1998, two new X designs were introduced in the Gen X

   Brand: the “Band Aid” design, which featured an X made out of a light and a dark band-aid

   criss-crossing with the Quiksilver Logo and name across it:




   and the “X-Treme” design, a large light colored X with the Quiksilver Logo in the bottom right

   leg of the X and “TREME” across it:




   These new Gen X Brand designs were used on t-shirts and wetsuits.

                    25.       By no later than 2000, as part of the Gen X Brand, Quiksilver began using

   the “X70” design. The “X70” design featured a large dark colored X with the Quiksilver Logo

   in the bottom right leg of the X, and “70” adjacent to the X on the right side:



                   OC\957044.2                         16
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP           Document 13       Filed 06/16/08     Page 17 of 27




   The “X70” design was used on t-shirts, boardshorts, woven shirts, walking shorts, pants, jackets,

   hats, backpacks and visors.

                    26.      Through the present, Quiksilver continues to feature the Gen X Brand and

   complementary X ornamentation on its products and in its advertising, in particular the

   “Quiksilver X” design, which was first introduced no later than 1994:




                                          ESPN and the X Games
                    27.      Quiksilver is informed and believes, and on that basis alleges, that when

   ESPN first conceived of an extreme sports competition, it did not conceive of associating that

   competition with the letter “X.” In fact, the first ESPN extreme sports competition, which took

   place in the summer of 1995 in Rhode Island and Vermont, was called the “Extreme Games.”

                    28.      Quiksilver is informed and believes, and on that basis alleges, that ESPN

   turned to Quiksilver for inspiration for use of the term “X,” as Quiksilver had been using that

   term in connection with its Gen X Brand for many years. Moreover, on information and belief,

   ESPN broadcasted Quiksilver events and other action sports events and contests featuring

   athletes such as Kelly Slater long before it conceived of using any “X” trademarks, and ESPN

   used Quiksilver’s superior reputation in action sports in order to attempt to gain credibility in

   that field.

                    29.      Quiksilver is informed and believes, and on that basis alleges, that long

   after Quiksilver launched its Gen X Brand, ESPN and its sales staff still did not even understand

   the significance of the letter “X” as it related to Generation X, and requested information on that

   significance.

                    30.      After initially calling its extreme sports competition the “Extreme

   Games,” ESPN renamed its competition the “X Games.” In 1997, the X Games moved to San

                   OC\957044.2                        17
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP           Document 13      Filed 06/16/08     Page 18 of 27




   Diego, California, and ESPN introduced a winter version of the games, held in Big Bear Lake,

   California.

                    31.      The Summer and Winter X Games became annual events, periodically

   moving to different locations. After the inaugural games in Big Bear Lake, the Winter X Games

   have been held regularly in Colorado, with two years spent in Vermont (2000-2001). The

   Summer X Games spent another year in San Diego, then moved to San Francisco for two years

   (1999-2000), then Philadelphia for two years (2001-2002), until settling in Los Angeles, where it

   has been held since 2003 and will be held until at least 2009. The 2008 Summer X Games will

   be held in Los Angeles on July 31st through August 3rd.

                    32.      The Summer X Games feature sporting events such as freestyle BMX,

   motocross, skateboarding, and surfing. The Winter X Games feature events like skiing and

   snowboarding. Notable athletes who have participated in the X Games are surfer Kelly Slater,

   skateboarder Tony Hawk, and snowboarder/skateboarder Shaun White.

                    33.      ESPN’s X Games usually feature corporate sponsors. Past X Games have

   been co-sponsored by Quiksilver’s DC Shoes brand. Quiksilver co-sponsored the Winter X

   Games in 2005.

                                           ESPN’s Trademarks
                    34.      ESPN holds several registrations for its X GAMES mark (collectively, the

   “X Games Federal Registrations”):

                             a.     X GAMES, Reg. No. 2,089,996 (August 19, 1997) with alleged

   first use in commerce on March 30, 1996;

                             b.     X GAMES, Reg. No. 2,126,126 (December 30, 1997) for, among

   other things, neckties, belts, blouses, dresses, pajamas, footwear, socks, underwear, skirts,

   scarves, sleepwear, and sun visors, with alleged first use in commerce on March 30, 1996;

                             c.     X GAMES, Reg. No. 2,211,559 (December 15, 1998) with alleged

   first use in commerce on May 28, 1998;

                             d.     X GAMES, Reg. No. 3,117,522 (July 18, 2006) for, among other

                   OC\957044.2                       18
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP             Document 13       Filed 06/16/08       Page 19 of 27




   things, wood case pencils, mechanical pencils, erasers, and hand-held sharpeners for pencils,

   with alleged first use in commerce on August 31, 2005;

                               e.     WINTER X GAMES, Reg. No. 2,126,110 (December 30, 1997)

   for, among other things, neckties, belts, blouses, dresses, pajamas, footwear, socks, underwear,

   skirts, scarves, sleepwear, and sun visors, with alleged first use in commerce on October 31,

   1996;

                               f.     WINTER X GAMES, Reg. No. 2,312,118 (January 25, 2000) with

   alleged first use in commerce on October 31, 1996;

                               g.     WINTER X GAMES, Reg. No. 2,556,221 (April 2, 2002) with

   alleged first use in commerce in September 1996;

                               h.     WINTER X GAMES, Reg. No. 2,648,501 (November 12, 2002)

   with alleged first use in commerce on October 24, 2000.

                      35.      ESPN also has several pending trademark applications for the X GAMES

   word mark as well as for its newly-adopted logos              and       , in numerous classes of goods.

   The applications for the new logos are intent-to-use applications, with no first use date indicated,

   but        ESPN   has    begun   using   these   logos   on   its   X   Games     website   (see,   e.g.,

   http://expn.go.com/gear/index.html). All of the ESPN marks describe above are, collectively,

   referred to as the “X Games Marks.”

                                        Third Party “X” Trademarks

                      36.      Quiksilver and ESPN are not the only companies in the apparel market to

   use X-related marks on their goods. Numerous third party companies feature “X” marks on

   goods such as clothing, footwear, and even lingerie. For example, Heeling Sports Limited uses a

   stylized X SPORT mark,                , on footwear (Registration No. 2,646,550), and claims to have

   been doing so since 2000; X-Factor Sportswear features a stylized X,               , on its clothes and

   hats (Registration No. 3,261,570) and claims to have doing so since 2005; Noble Fiber

   Technologies, LLC uses a stylized X,             , and the mark X-SHIRT on shirts and clothing

   (Registration Nos. 3,288,899 and 3,057,893), and has claimed to use these marks since 2001 and

                     OC\957044.2                       19
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP           Document 13       Filed 06/16/08     Page 20 of 27




   2005, respectively; and Marvel Characters, Inc. uses the X-MEN mark on clothing (Registration

   No. 2,052,216), and claims to have been doing so since September 1992.

                    37.      There are many other companies with pending trademark applications for

   X-related marks for clothing and related apparel goods, such as X WEAR,               , (Serial No.

   78/374,957) filed February 26, 2004, by Yvonne R. Rainey, claimed use in commerce since

   December 13, 2003; X GEAR,                   , (Serial No. 77/035,156) filed November 2, 2006, by

   Troy M. Daniels; X GEAR (Serial No. 77/331,766) filed November 16, 2007, by Metro

   Entertainment Group and Sports Talent Agency, Inc.; X WETSUITS (Serial No. 77/084,168)

   filed January 16, 2007, by Television Events and Marketing, Inc.; XDRESS, (Serial No.

   77/359,698) filed December 26, 2007 by David Bonfield; and simply “X” (Serial No.

   76/132,702) filed September 21, 2000 by Bombardier Recreational Products, Inc.

                    38.      The amount of third party use increases even more in markets beyond

   apparel. For example, Brainstorm Product, LLC uses the mark X SPORT on toys (Registration

   No. 2,854,459), and claims to have been doing so since 2002; XSports Collectables, LLC is

   using the stylized XSPORTS mark,           , (Serial No. 77/341,751) for video games and figurines;

   Xybernaut Corporation is using the stylized X mark,         , (Registration No. 2,577,649) for toys,

   and claims to have been doing so since 2000; Microsoft Corporation owns several X marks,

   including the mark “X,” (Registration No. 2,867,060) for computer games and accessories,

   claimed in use since 2001; the stylized X mark,           , for computer games and video games

   (Serial No. 77/031,446); the stylized X mark,       , for interactive video games (Registration No.

   3,240,776), claimed in use since 2005; the stylized X mark,            , for video game consoles

   (Registration No. 2,741,764), claimed in use since 2001, the stylized X mark,           , for video

   game consoles (Registration No. 2,779,447), claimed in use since 2001.

                                   ESPN’s Lawsuit Against Quiksilver

                    39.      Notwithstanding Quiksilver’s long-standing trademark rights in its Gen X

   Brand, on September 27, 2007, at least eighteen years after Quiksilver first adopted the Gen X

   Brand, ESPN sent Quiksilver a cease-and-desist letter, demanding that Quiksilver cease all use

                   OC\957044.2                       20
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP            Document 13        Filed 06/16/08     Page 21 of 27




   of “a stylized X mark . . . [that] is identical to ESPN’s stylized X mark.”

                    40.      Quiksilver promptly responded to ESPN’s letter on October 31, 2007, and

   alerted ESPN to Quiksilver’s extensive prior rights in its Gen X Brand, specifically mentioning

   Quiksilver’s adoption of the Gen X Brand in 1989.

                    41.      Despite being on notice of Quiksilver’s priority of use, and without

   engaging in any additional dialogue with Quiksilver about this issue or, on information and

   belief, any additional investigation into Quiksilver’s use of its Gen X Brand, ESPN inexplicably

   filed a complaint against Quiksilver on May 2, 2008, alleging trademark infringement, dilution,

   and unfair competition. To support its spurious allegations, ESPN erroneously alleged in its

   complaint that the “Quiksilver X” design was first used in 2007, even though that trademark, as

   part of the Gen X Brand, has been used on multiple products for over 13 years, use that ESPN

   would clearly know about given its close association with Quiksilver’s sponsored athletes and

   Quiksilver’s visibility in the action sports market.

                                        FIRST COUNTERCLAIM

                                            (Declaratory Relief)

                    42.      Quiksilver realleges and incorporates by reference the allegations of

   paragraphs 1 through 41 above, as if fully set forth herein.

                    43.      An actual controversy has arisen and now exists between Quiksilver and

   ESPN, in that ESPN contends that Quiksilver’s use of its Gen X Brand constitutes trademark

   infringement, dilution, and unfair competition under the Lanham Act and New York law.

   Quiksilver denies and disputes these allegations.

                    44.      Quiksilver desires and requests the intervention of the Court to resolve the

   competing contentions of the parties arising under federal and state law, and asks that the Court

   determine and declare that:

                             a.     Quiksilver is the senior use of the Gen X Brand;

                             b.     Quiksilver’s use of Xs on its products as complementary

   ornamentation to the Gen X Brand is non-trademark use;

                   OC\957044.2                         21
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP                Document 13      Filed 06/16/08     Page 22 of 27




                                  c.     Quiksilver’s use of the Gen X Brand does not infringe or dilute

   ESPN’s X Games Marks because Quiksilver has priority of use and/or the use of Xs as

   ornamentation is non-trademark use;

                                  d.     Quiksilver’s use of the Gen X Brand does not constitute unfair

   competition vis-à-vis ESPN’s X Games Marks because Quiksilver has priority of use and/or the

   use of Xs as ornamentation is non-trademark use; and

                                  e.     Quiksilver’s use of the Gen X Brand does not dilute ESPN’s X

   Games Marks because the X Games Marks are sufficiently diluted by the voluminous third party

   use of X-related marks such that Quiksilver’s marks cannot further dilute them.

                                           SECOND COUNTERCLAIM

                   (Trademark Infringement and Unfair Competition under 15 U.S.C. § 1125(a))

                         45.      Quiksilver realleges and incorporates by reference the allegations of

   paragraphs 1 through 44 above, as if fully set forth herein.

                         46.      Since at least 1989, Quiksilver has consistently used the Gen X Brand on

   its products. Quiksilver has invested considerable time, effort, and expense in the creation,

   advertising, and promotion of its Gen X Brand in connection with its clothing items and related

   products.

                         47.      By virtue of its longstanding use of the Gen X Brand, Quiksilver has

   developed a valuable reputation for quality and goodwill associated with that brand. Consumers

   recognize and associate the Gen X Brand as originating from Quiksilver. Moreover, Quiksilver

   has established significant common-law trademark rights in connection with its Gen X Brand.

                         48.      Quiksilver’s use and rights in the Gen X Brand significantly predate, by

   approximately ten years, any use or rights ESPN has in the X Games Marks. Accordingly,

   Quiksilver has superior rights and priority in and to the Gen X Brand.

                         49.      ESPN has asserted that the parties’ marks cannot co-exist. Thus, ESPN,

   through its use of the junior X Games Marks, has been and is engaged in trademark infringement

   and unfair competition in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a). On

                        OC\957044.2                       22
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP            Document 13        Filed 06/16/08     Page 23 of 27




   information and belief, this infringement and unfair competition is knowing and willful.

                    50.      As a proximate result of ESPN’s acts, Quiksilver has suffered, and will

   continue to suffer, substantial damage to its reputation and goodwill, as well as injury to its

   current and potential customer base and loss of revenues, in an amount not yet ascertained.

                    51.      Quiksilver is further entitled to recover ESPN’s profits and reasonable

   royalties for the infringing use of the Gen X Brand, together with damages, each of which may

   be trebled due to ESPN’s willful acts of infringement.

                    52.      ESPN’s intentional and willful activities have caused, and will continue to

   cause, irreparable harm to Quiksilver for which Quiksilver has no adequate remedy at law.

   Accordingly, Quiksilver is entitled to injunctive relief that permanently bars ESPN from any use

   of its X Games Marks.

                    53.      ESPN’s willful conduct renders this an exceptional case, further entitling

   Quiksilver to recover its attorneys’ fees and costs of suit pursuant to 15 U.S.C. § 1117.

                                         THIRD COUNTERCLAIM

                                 (Trademark Dilution under NY GBL § 360-l)

                    54.      Quiksilver realleges and incorporates by reference the allegations of

   paragraphs 1 through 53 above, as if fully set forth herein.

                    55.      ESPN’s use of the X Games Marks violates Section 360-l of New York

   State General Business Law, in that the use creates a likelihood of injury to Quiksilver’s business

   reputation and dilution of Quiksilver’s Gen X Brand.

                    56.      Accordingly, Quiksilver is entitled to injunctive relief permanently barring

   ESPN from any further use of its X Games Marks.

                                        FOURTH COUNTERCLAIM

                                 (New York Common Law Unfair Competition)

                    57.      Quiksilver realleges and incorporates by reference the allegations of

   paragraphs 1 through 56 above, as if fully set forth herein.

                    58.      ESPN’s bad faith misappropriation of Quiksilver’s Gen X Brand, in

                   OC\957044.2                         23
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP             Document 13       Filed 06/16/08     Page 24 of 27




   particular, its copying of the “Quiksilver X” design, violates New York common law.

                    59.      Accordingly, Quiksilver is entitled to injunctive relief permanently barring

   ESPN from any further use of its X Games Marks.

                                          FIFTH COUNTERCLAIM

                            (Cancellation of the X Games Federal Registrations

                                  under 15 U.S.C. § 1064 and 15 U.S.C. § 1119)

                    60.      Quiksilver realleges and incorporates by reference the allegations of

   paragraphs 1 through 59 above, as if fully set forth herein.

                    61.      ESPN currently holds eight federal trademark registrations for X Games-

   related marks, as detailed above.

                    62.      On information and belief, ESPN failed to inform the USPTO of the

   existence of Quiksilver’s senior rights and priority in and to the Gen X Brand. That information

   was material to the USPTO’s determination to issue the X Games Federal Registrations. On

   information and belief, the USPTO reasonably relied on ESPN’s omission of this material

   information in determining to issue those registrations.

                    63.      On information and belief, ESPN has not used the registered X Games

   marks on all of the goods and services listed in the following registrations continuously in

   commerce since the indicated first use dates:

                             a.       X GAMES, Reg. No. 2,126,126;

                             b.       X GAMES, Reg. No. 3,117,522; and

                             c.       WINTER X GAMES, Reg. No. 2,126,110.

   ESPN has thus perpetrated a fraud on the USPTO as to the above registrations by claiming

   exclusive rights for goods and services for which it is not entitled.

                    64.      Quiksilver is being damaged by the fraudulently-obtained X Games

   Federal Registrations, because those registrations are either being asserted against Quiksilver in

   this litigation or may be asserted against Quiksilver in future lawsuits or opposition/cancellation

   proceedings.

                   OC\957044.2                         24
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP            Document 13       Filed 06/16/08      Page 25 of 27




                    WHEREFORE, Quiksilver prays for the following relief:

                    1.       For a declaratory judgment that:

                             a.     Quiksilver is the senior user of the Gen X Brand;

                             b.     Quiksilver’s use of Xs on its products as complementary

   ornamentation to the Gen X Brand is non-trademark use;

                             c.     Quiksilver’s use of the Gen X Brand does not infringe or dilute

   ESPN’s X Games Marks because Quiksilver has priority of use and/or the use of Xs as

   ornamentation is non-trademark use;

                             d.     Quiksilver’s use of the Gen X Brand does not constitute unfair

   competition vis-à-vis ESPN’s X Games Marks because Quiksilver has priority of use and/or the

   use of Xs as ornamentation is non-trademark use; and

                             e.     Quiksilver’s use of the Gen X Brand does not dilute ESPN’s X

   Games Marks because the X Games Marks are sufficiently diluted by the voluminous third party

   use of X-related marks such that Quiksilver’s marks cannot further dilute them.

                    2.       For preliminary and permanent injunctions against ESPN and its officers,

   agents, servants, employees, and attorneys, and all other persons who are in active concert or

   participation with each of them, who receive actual notice hereof by personal service or

   otherwise, enjoining and restraining them from any further use of the X Games Marks, or any

   other trademarks similar to the Gen X Brand, including the withdrawal of any pending trademark

   applications for such marks;

                    3.       For the cancellation of ESPN’s X Games Federal Registrations;

                    4.       For general, special, actual, punitive, and/or statutory damages, according

   to proof at trial;

                    5.       For treble damages;

                    6.       For an accounting and disgorgement of ESPN’s profits earned on the sale

   of goods using the X Games Marks;

                    7.       For Quiksilver’s costs and attorneys’ fees;

                   OC\957044.2                         25
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP                   Document 13          Filed 06/16/08     Page 26 of 27




                         8.        For interest at the legal rate; and

                         9.        For such other and further relief as the Court may deem just and proper.

                                                     JURY DEMAND

                         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Quiksilver demands

   a trial by jury on all claims so triable.

   Dated: Costa Mesa, California

                   June 16, 2008                           LATHAM & WATKINS LLP


                                                                   By:       /s/ Mark A. Finkelstein
                                                                         Kenneth Conboy (KC 1154)
                                                                         Jaron R. Shipp (JS 6365)
                                                                         885 Third Avenue, Suite 1000
                                                                         New York, New York 10022
                                                                         (212) 906-1200
                                                                         kenneth.conboy@lw.com
                                                                         jaron.shipp@lw.com

                                                                         Mark A. Finkelstein (MF 1040)
                                                                         650 Town Center Drive, Suite 2000
                                                                         Costa Mesa, California 92626
                                                                         (714) 540-1235
                                                                         mark.finkelstein@lw.com
                                                                         Admitted pro hac vice

                                                                         Jennifer L. Barry (JB 0245)
                                                                         600 West Broadway, Suite 1800
                                                                         San Diego, California 92101
                                                                         (619) 236-1234
                                                                         jennifer.barry@lw.com
                                                                         Admitted pro hac vice

                                                                         Attorneys for Defendant and
                                                                         Counterclaimant Quiksilver, Inc.




                        OC\957044.2                           26
ATTORNEYS AT LAW
 ORANGE COUNTY
          Case 1:08-cv-04222-CM-HBP         Document 13        Filed 06/16/08      Page 27 of 27



                                     CERTIFICATE OF SERVICE

          I hereby certify that on June 16, 2008, I caused the attached document to be electronically
   transmitted to the Clerk’s Office using the CM/ECF System.


          I further certify that on this same date, I caused the attached document to be hand
   delivered as a Chambers Copy to:

                                         Hon. Colleen McMahon
                                 Daniel Patrick Moynihan U.S. Courthouse
                                         500 Pearl St., Room 640
                                          New York, NY 10007

          I further certify that on this same date, I caused the attached document to be sent via
   email and overnight delivery to:

                                              Frank Ryan
                                          Tamar Y. Duvdevani
                                          Nixon Peabody LLP
                                          437 Madison Avenue
                                          New York, NY 10022
                                       FRyan@nixonpeabody.com
                                     tduvdevani@nixonpeabody.com


                                                                        /s/ Mark A. Finkelstein
                                                                        Mark A. Finkelstein




                   OC\957044.2                      27
ATTORNEYS AT LAW
 ORANGE COUNTY
